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 1                          UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
 2                                WESTERN DIVISION
                                      - - -
 3
       NATIONAL ASSOCIATION OF SOCIAL            :   CASE NO. 1:22-cv-0258
 4     WORKERS; WOMEN HAVE OPTIONS,              :
       INC.,                                     :   TELEPHONIC STATUS
 5                                               :   CONFERENCE
                            Plaintiffs,          :
 6                   vs.                         :   12th of May, 2022
                                                 :   2:37 p.m.
 7     CITY OF LEBANON, OHIO; MAYOR              :
       MARK MESSER, in his official              :
 8     capacity as Mayor; CITY MANAGER           :
       SCOTT BRUNKA, in his official             :
 9     capacity as City Manager; CITY            :
       ATTORNEY MARK YURICK, in his              :
10     official capacity as City                 :
       Attorney; CHIEF OF POLICE                 :
11     JEFFREY MITCHELL, in his                  :
       official capacity as Chief of             :
12     Police,                                   :
                                                 :
13                          Defendants.          :

14                                  - - -
                           TRANSCRIPT OF PROCEEDINGS
15                 BEFORE THE HONORABLE SUSAN J. DLOTT, JUDGE
                                    - - -
16
       APPEARANCES:
17
       For the Plaintiffs:
18
                  Beatrice "Jessie" Hill, Esq.
19                Rebecca L. Kendis, Esq.
                  Case Western Reserve University School of Law
20                11075 East Boulevard
                  Cleveland, Ohio 44106
21                                         and
                  Sean A. Lev, Esq.
22                Kristen P. Miller, Esq.
                  John T. Lewis, Esq.
23                Democracy Forward Foundation
                  PO Box 34553
24                Washington, DC 20043
                                          and
25
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 1                Freda J. Levenson, Esq.
                  Elena Thompson, Esq.
 2                ACLU of Ohio
                  1108 City Park Avenue, Suite 203
 3                Columbus, Ohio 43206

 4     For the Defendants: (None present.)

 5     Law Clerks:               Jennifer Johnson, Esq.
                                 Margaret Fechtel, Esq.
 6                               Michael Soder, Esq.

 7     Courtroom Deputy:         William Miller

 8     Stenographer:             Lisa Conley Yungblut, RDR, RMR, CRR, CRC
                                 United States District Court
 9                               100 East Fifth Street
                                 Cincinnati, Ohio 45202
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                     Proceedings recorded in stenotype.
           Transcript produced with computer-aided transcription.
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 1                                    PROCEEDINGS

 2             (Proceedings held by teleconference at 2:37 p.m.)

 3                 THE DEPUTY:     Okay.    Counsel, good afternoon.            We're

 4     here for a status conference today in Case No. 1:22-cv-258,

 5     National Association of Social Workers versus City of

 6     Lebanon, Ohio, et al.        And on the phone for the plaintiff in

 7     this matter, I have Elena Thompson, Freda Levenson, John

 8     Lewis, Kristen Miller, Rebecca Kendis, Sean Lev, and Jessie

 9     Hill.    And there is no counsel for the defendant that has

10     dialed in for this phone conference.

11             Also on the phone participating, I have the judge's law

12     clerk, Peggy Fechtel.        Here in chambers, I have:         Judge

13     Dlott, and her law clerks, Jennifer Johnson and Michael

14     Soder, and the court reporter is Lisa Conley Yungblut.                   And

15     if you could just please identify yourselves before you

16     speak.     Thank you.

17                 THE COURT:     Good afternoon, Counsel.         Before I

18     forget to tell you, I just want to compliment you on the

19     memo in support of your motion for preliminary injunction.

20     I think it's better written than almost any Sixth Circuit

21     brief I've ever seen.        So you did a --

22                 MS. HILL:     Thank you, Your Honor.

23                 THE COURT:     Who's that?

24                 MS. HILL:     Oh, this is Jessie Hill, but it was

25     certainly a joint effort.         Thank you very much, Judge.
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 1                 THE COURT:     It's a beautiful job.        Unfortunately,

 2     we don't have a defendant here.           Bill sent a notice at 11:30

 3     this morning, and we've tried to reach him by phone and

 4     can't.     I guess -- well, what would you like to do?             One

 5     thing is that you could, you know, serve them personally or

 6     we could set a briefing -- and we can set a briefing

 7     schedule.     I'll hear from you with suggestions.

 8                 MS. HILL:     Thank you, Your Honor.        Yes.

 9                 THE COURT:     Will you identify yourself before you

10     speak just because we've got so many people on the phone?

11                 MS. HILL:     Apologies.     Yes.   This is Jessie Hill.

12     So yes.     And I just also want to confirm that we tried

13     several times to reach defendant's counsel as well.                I

14     actually e-mailed him the day before filing to let him know

15     that we were filing and that we would be sending the papers

16     and then contacting him about, you know, the initial

17     conference; and he responded to that e-mail but then has not

18     responded since.       So, you know, we are getting a little

19     concerned about defendant's intentions at this point, and

20     we're kind of hoping to expedite matters and set a briefing

21     schedule.

22             If the Court thinks that trying to serve defendants'

23     counsel personally is the best way to go to ensure that we

24     can move things quickly, we would certainly be willing to do

25     that.    We served them by certified mail originally.              You
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 1     know, so, yeah, I think that if the Court is willing to do

 2     that, setting a briefing schedule now together with serving

 3     personal service would make sense.

 4                 THE COURT:     Okay.    That sounds good to us.        How

 5     quickly do you think you'll get them served?

 6                 MS. HILL:     That's a good question.        I guess it

 7     would depend on his intentions maybe with respect to that,

 8     but I would imagine we could make it happen tomorrow,

 9     barring any complications.

10                 THE COURT:     Yeah.    Too bad it's not last Friday.            I

11     met Judge Morrison from Columbus.           We wanted to meet

12     halfway, so we met at the Golden Lamb.             If I had known, I

13     would have taken your papers with me.

14                 MS. HILL:     Right, there you go.

15                 THE COURT:     It's right -- it's actually right

16     across the street from City Hall.

17                 MS. HILL:     Oh, wow.

18                 THE COURT:     Yeah, if you end up in Lebanon doing

19     discovery, I highly recommend the Golden Lamb.

20                 MS. HILL:     Right, yes.     I've been there actually

21     because I grew up in Cincinnati.           Great place.

22                 THE COURT:     I grew up in Dayton, and when we were

23     kids, my parents used to let us pick what restaurant we

24     wanted to go to for our birthdays, and mine was always the

25     Golden Lamb.      And back then, they would give each kid a
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 1     little golden lamb and I had these little golden lambs lined

 2     up on my desk at home.         I'm sorry to say they don't do that

 3     anymore.

 4                 MS. HILL:     I don't think so.

 5                 THE COURT:     I'll give you another interesting fact

 6     about it.     It's owned by Rob Portman.

 7                 MS. HILL:     Yeah, yeah, I was aware of that, by the

 8     family or himself, yeah.

 9                 THE COURT:     Yeah, his mom.      I knew his mom.      I was

10     in the same law firm with Rob, and he was working at the

11     White House when his mom got cancer, and he decided he

12     wanted to come home and be here for her, so he was here for

13     about four years before she passed away.             And she had been

14     running it herself.        She was a lovely woman.

15                 MS. HILL:     Wow.

16                 THE COURT:     Okay.    What would you like for a

17     briefing schedule?

18                 MS. HILL:     So we were hoping that maybe we could --

19     the Court would be willing to give defendants two weeks to

20     respond, and then we could reply within another week, if

21     that seems reasonable.

22                 THE COURT:     Two weeks from when, when they're

23     served?

24                 MS. HILL:     I suppose it would make sense, yes.

25                 THE COURT:     Okay.
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 1                 MS. HILL:     Yes, Your Honor.

 2                 THE COURT:     And then you wanted -- how much did you

 3     want, another two weeks?

 4                 MS. HILL:     We think we could reply within a week.

 5                 THE COURT:     Okay.

 6                 MS. HILL:     We would like to get the case all

 7     briefed as quickly as possible so that we can, obviously,

 8     you know, reach -- the Court can reach a decision sooner

 9     rather than later.

10                 THE COURT:     Okay, fine.     Let me see.      I've got my

11     law clerks here.       Are we missing anything?

12                 MR. SODER:     No.

13                 MS. JOHNSON:     Should be fine.

14                 THE COURT:     I guess we're good, then.         You did want

15     oral argument, I remember from the pleadings.

16                 MS. HILL:     Yes.   And if Your Honor thinks it would

17     be helpful to have oral argument, we are happy to have oral

18     argument; but if you don't think that that's necessary, we

19     are happy to waive it as well.

20                 THE COURT:     Oh, okay.     Let me see what they file

21     and then I'll let you know.

22                 MS. HILL:     Okay, wonderful.      Thank you, Your Honor.

23                 THE COURT:     Anything else?      Anything else,

24     Ms. Hill, and everybody else?

25                 MS. HILL:     I don't believe so.       I don't think we
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 1     are going to need an evidentiary hearing of any sort, so

 2     really just argument, hopefully, if that.              And, yeah, we

 3     will I guess keep the Court apprised of the service efforts

 4     and what happens with that.

 5                 THE COURT:     Great.    My courtroom deputy's name is

 6     Bill Miller, and his direct dial is 513-564-7633, and you

 7     can call him at anytime.

 8                 MS. HILL:     Okay, wonderful.      Thank you very much.

 9                 THE COURT:     The Court will do whatever it can to

10     assist you.      I remember when I was an Assistant US Attorney

11     from 1975 to 1980, and I think back then the marshals used

12     to serve process in federal cases, because I think I

13     remember some of them, the first thing they did the first

14     day they joined the marshal's office was they would give

15     them a map of Dayton and a stack of subpoenas and tell them

16     to go serve them.

17                 MS. HILL:     Little intimidating for the person

18     getting served.

19                 THE COURT:     Now we're lucky if we can get them to

20     even transport prisoners to the courthouse.              In fact, this

21     shows how old I am, we had a senior judge by the name of

22     Carl Weinman, a lovely man, and they picked up his dry

23     cleaning every week.        And Judge Kinneary in Columbus -- I

24     think it was Judge Cecil, one of the judges in Dayton, was

25     in a nursing home for like a year, and Judge Kinneary would
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 1     get one of the marshals to drive him every week to visit

 2     that judge, and then the judge came back on the bench.                   But

 3     those are the old days.

 4                 MS. HILL:     Oh, my goodness.      Yes, for sure.

 5                 THE COURT:     Okay.    Well, thank you very much.

 6                 MS. HILL:     Thank you, Your Honor.        And, yes, we

 7     will let the Court know, I guess, when we have confirmation

 8     of service.

 9                 THE COURT:     Okay.    Thank you.

10                 MS. HILL:     Thank you.

11            (Proceedings concluded at 2:48 p.m.)

12                              C E R T I F I C A T E

13          In accordance with 28 U.S.C. Section 753, I certify
       that the foregoing is a correct transcript of the record of
14     proceedings in the above-entitled matter prepared from my
       stenotype notes and that the transcript page format is in
15     accordance with the regulations of the Judicial Conference
       of the United States.
16
                     /s/                   _______          06/23/2022
17                   LISA CONLEY YUNGBLUT, RDR, RMR, CRR, CRC     DATE

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